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                  UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CORNEL WEST, et al.,

                    Plaintiffs,

             v.                                   No. 24-cv-1349
                                                  Judge Nicholas Ranjan
PENNSYLVANIA DEPARTMENT OF
STATE, et al.,

                    Defendants.



                             MOTION TO DISMISS

      The Pennsylvania Department of State and Secretary of the Commonwealth

Al Schmidt move to dismiss Plaintiffs’ Complaint (ECF No. 1) under Federal Rule

of Civil Procedure 12. The Complaint should be dismissed for the reasons described

in the contemporaneously filed brief.

October 1, 2024                           Respectfully submitted,

Kathleen M. Kotula (No. 86321)            /s/ Jacob B. Boyer
Kathleen A. Mullen (No. 84604)            Jacob B. Boyer (No. 324396)
Pennsylvania Department of State          Steven R. Kovatis (No. 209495) (pro
306 North Office Bldg.                    hac vice application forthcoming)
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 Counsel for Department of State and Secretary of the Commonwealth Al Schmidt
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                                CERTIFICATES

      I hereby certify that a copy of this motion has been served on all counsel of

record using the Court’s CM/ECF system.

      I further certify that, as required by this Court’s practices and procedures, I

contacted counsel for plaintiffs earlier today for their position about whether

deficiencies in the Complaint can be cured. As of filing, I have not yet received a

response from plaintiffs’ counsel.



October 1, 2024                        /s/ Jacob B. Boyer
                                       Jacob B. Boyer
